Case 1:05-cv-01021-STA Document 9 Filed 06/28/05 Page 1 of 3 Page|D 13

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

FRED sr £QL¢ mci

V% l OF UQJACKSON

EASTERN DIvIsIoN 05 JUHZB PH Z=SI
GUIDEONE TAYLoR BALL ti
cONsTRUCTION sERvIcES, INC. Cl_‘"-fa'€-’_, U.S. D|ST CI
Plaintiff,
vs. Civil Action No. l:OB-lOBl-T/An

FIRST BAPTIST CHURCH OF
SELMER, TENNESSEE

Defendant.

 

ORDER SETTING CASE FOR TRIAL

 

This is to notify you that this case is set for JURY TRIAL on
MONDAY, NOVEMBER 20, 2006, at 9:30 a.m. in the Federal Courtroom,
Room 432 Fourth Floor, U. S. Courthouse, in Jackson, TN. A joint
pre-trial order must be submitted to the court by FRIDAYz
NOVEMBER 10, 2006. All discovery must be completed before that
date.

Counsel, and any party proceeding prg §e, MUST confer and
attempt to prepare a joint pre-trial order which covers the items
set forth below. If a joint pre-trial order cannot be agreed upon,
the attorneys must notify the court at least lO days prior to trial
that a pre-trial conference may be necessary. In addition to
notifying the court, the attorney' for each. party' or' a party
proceeding pro se must submit a draft of a pre-trial order that
considers the following matters:

l. any jurisdictional questions, and the proper ruling

thereon;

2. any questions raised by pending motions, and the

proper ruling thereon;

3. the respective contentions of the parties, including

the contentions of the parties With regard to the nature

and amounts of damages;

4. specific facts that may be stipulated (possible

sources of these agreed facts are the pleadings,

discovery, or admission of counsel);

5. contested issues of fact;

6. contested issues of laW;

7. exhibits (except documents for impeachment only) to

be offered in evidence by the parties, and to the extent

possible, a stipulation as to admissibility;

Case 1:05-cv-01021-STA Document 9 Filed 06/28/05 Page 2 of 3 Page|D 14

8. witnesses for the parties - indicate those who will
be called in the absence of reasonable notice to opposing
counsel to the contrary and those who may be called as a
possibility only.

Counsel, and any party'proceeding prp §§, are also directed to
confer and exchange information as to the ultimate issues of law
and fact, eliminating unnecessary or irrelevant issues that may
appear in the pleadings or discovery, offered in evidence at the
trial.

In the event a pre-trial conference is necessary those who
will try the case will be generally familiar with pre-trial
procedures and come to a pre-trial conference with full authority
to accomplish the purpose of the conference, which is to simplify
and. define the triable issues, expedite the trial, and_ save
expense. At the time of the conference, counsel and any party
proceeding prp §§ mdll report to the court the prospects of
settlement as well as estimates of the length of time it will take
to try the case. For a discussion of pre-trial conferences and a
modified form for a pre-trial order, see Hon. A. Sherman

 

Christenson, When Is A Pre-Trial Conference A "Pre-Trial
Conference"?l 23 F.R.D. 129 (1958) (paper presented before Pre-

Trial Committee of the Tenth Circuit); see also FedJ R. Civ. P. 16.

IF AN ATTORNEY OR A PARTY PROCEEDING EBQ §§ FAILS TO APPEAR AT THE
PRE-TRIAL CONFERENCE OR FAILS TO COMPLY WITH THE DIRECTIONS SET
FORTH HEREIN, AN EX PARTE HEARING MAY BE HELD AND/OR JUDGMENT OF
DISMISSAL OR DEFAULT OR OTHER APPROPRIATE JUDGMENT ENTERED.

IT IS SO ORDERED.
ENTERED AS DIRECTED,
THOMAS M. GOULD, CLERK

Deputy Clerk

 

DATE: GV/ggy£ls

   

UNITED S`TATES ISTRICT oURT - WESERT DISTRICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:05-CV-01021 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

Jefferson C. Orr

SMITH & CASH[ON
424 Church St.

Ste. 1200

Nashville, TN 372 l 9--230

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

l\/lemphis7 TN 38103

Russell E. Reviere

RAINEY KIZER REVIERE & BELL
209 E. Main Street

Jackson7 TN 38302--1 14

Honorable J ames Todd
US DISTRICT COURT

